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     _________________________________________
     UNITED STATES BANKRUPTCY COURT            :
     DISTRICT OF NEW JERSEY                    : CERTIFICATION OF
     __________________________________________: COUNSEL
     KENNETH ROSELLINI, ESQ. (6047)            :
     Attorney at Law                           :
     636A Van Houten Avenue                    :
     Clifton, New Jersey 07013                 :
      (973) 998-8375 Fax (973) 998-8376        :
     Pro Se                                    :
     __________________________________________:
     In Re:                                    :
                                               : Case No.: 17-00110-MBK
             Kenneth J. Rosellini              :
                                               :
                                               :
     __________________________________________:

      I, KENNETH ROSELLINI, do hereby certify the following in lieu of oath or affidavit:

            1.      I am the Defendant in the above-captioned matter.

            2.      I make this Certification in Response to the Order to Show Cause issued in the

     above-captioned action as to why sanctions should not be imposed for failure to file a list of

     creditors as required by Fed.R.Bankr.P. 1007(a)(1).

            3.      My understanding of the procedure in the United States Bankruptcy Court for the

     District of New Jersey for compliance with Fed.R.Bankr.P. 1007(a)(1) had been that uploading

     creditors via ECF, which creates a PDF when a Query is run on Pacer for List of Creditors,

     satisfied the requirements of the rule based on both bankruptcy practice and the prior instructions

     of the Bankruptcy Court Clerk regarding the requirements for a petition to be accepted as filed.

            4.      As no substantive change to Fed.R.Bankr.P. 1007(a)(1) was made in the

     December 2016 publication of the Federal Rules of Bankruptcy Procedure, I was not aware that

     the United States Bankruptcy Court for the District of New Jersey had altered its procedures, and

     I received no communication from the Bankruptcy Court or anyone else that the bankruptcies
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     which are listed in the Order to Show Cause were deficient, until I received the Order to Show

     Cause itself.

            5.       Other than the case of In re Hubert Ferris, Case No.: 17-31686-JKS, in which I

     inadvertently failed to upload the creditor information via ECF until day after the filing of the

     petition, all of the subject bankruptcies included uploaded creditor information via ECF on the

     day the petitions were filed.

            6.       As of today’s date, I have uploaded a List of Creditors as a PDF in each of the

     cases listed on the Order to Show Cause set forth infra.

            7.       In re Hubert Ferris, Case No.: 17-31686-JKS, on October 27, 2017 a Creditor

     was uploaded by way of ECF and on November 14, 2017 a List of Creditors was filed.

            8.       In re Carolyn Delafrange, Case No.: 17-30816-JKS, full schedules, including List

     of Creditors, was filed on November 8, 2017.

            9.       In re Jean Forty-Munier, Case No.: 17-30511-JKS, full schedules, including List

     of Creditors, was filed on November 9, 2017.

            10.      In re Kisha Lantigua, Case No.: 17-30309-RG, on November 14, 2017 a List of

     Creditors was filed.

            11.      In re Jose R. Ferreras, Case No.: 17-30308-SLM, on November 14, 2017 a List

     of Creditors was filed.

            12.      In re Sandra Marega, Case No.: 17-30153-ABA , full schedules, including List of

     Creditors, was filed on November 2, 2017.

            13.      In re Gilbert Haggar, Case No.: 17-29664-VFP, full schedules, including List of

     Creditors, was filed on October 31, 2017.

            14.      In re Olga Elias, Case No.: 17-29279-RG, on November 14, 2017 a List of
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     Creditors was filed.

            15.     In re Kenia Paulino, Case No.: 17-29272-JKS, on November 14, 2017 a List of

     Creditors was filed.

            16.     In re Edith Jativa, Case No.: 17-28963-RG, on November 14, 2017 a List of

     Creditors was filed.

            17.     In re Antonio Castillo, Case No.: 17-28872-KCF, full schedules, including List of

     Creditors, was filed on October 13, 2017 (which was before the subject Order to Show Cause

     was filed).

            18.     In re Nart Abida, Case No.: 17-28470-RG, on November 14, 2017 a List of

     Creditors was filed.

            19.     In re Isabel Garcia, Case No.: 17-27564-MBK, on November 14, 2017 a List of

     Creditors was filed.

            20.     In re Carlos Oquendo, Case No.: 17-27011, on November 14, 2017 a List of

     Creditors was filed.

            21.     As the Order to Show Cause did not cite a rule or statute under which the Court is

     proceeding regarding imposition of sanctions, I understand the Court to be proceeding under its

     inherent authority.

            22.     The basis for sanctioning an attorney under the Court’s inherent authority is as

     follows:


            In addition to the sanctioning authority expressly conferred by statutes and court rules,
            the federal courts “possess certain ‘inherent powers ... to manage their own affairs so as
            to achieve the orderly and expeditious disposition of cases,’ ” Goodyear Tire & Rubber
            Co. v. Haeger, 137 S. Ct. 1178, 1186 (2017) (quoting Link v. Wabash R.R. Co., 370 U.S.
            626, 630-31 (1962)), including “the ability to fashion an appropriate sanction for conduct
            which abuses the judicial process,” id. (quoting Chambers v. NASCO, Inc., 501 U.S. 32,
            44-45 (1991)); see also Chambers, 501 U.S. at 45-46 (holding a federal court has
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            inherent power to assess attorney's fees when a party “has acted in bad faith, vexatiously,
            wantonly, or for oppressive reasons” or “shows bad faith by delaying or disrupting the
            litigation or by hampering enforcement of a court order” (internal quotation marks and
            citations omitted)).

     See Klein v. Weidner, No. CV 08-3798, 2017 WL 2834260, at *3 (E.D. Pa. June 30, 2017).

            23.     As set forth supra, I did not act in bad faith, vexatiously, wantonly, or for

     oppressive reasons, and did not show bad faith by delaying or disrupting litigation or

     enforcement of a court order.

            24.     I reasonably understood that I was complying with Fed.R.Bankr.P. 1007(a)(1)

     based on both bankruptcy practice and the prior instructions of the Bankruptcy Court Clerk

     regarding the requirements for a petition to be accepted as filed.

            25.     When I was notified that my filing procedures were not considered by Bankruptcy

     Court to be in compliance with Fed.R.Bankr.P. 1007(a)(1), I contact the Bankruptcy Court Clerk

     to inquire as to the required ECF filing procedure, and, once informed of the procedure, took

     corrective action within a reasonable time to cure the deficiencies.

            26.     For the aforementioned reasons, I respectfully submit that I have demonstrated

     cause why an order should not issue for sanctions in this matter.


            I certify that the foregoing statements made by me are true. I am aware that if any of the

     foregoing statements made by me are willfully false, I am subject to punishment.



                                                           /s/ Kenneth Rosellini

                                                           _________________________
     November 14, 2017                                     Kenneth Rosellini, Esq.
